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                    IN THE UNITED STATES DISTRICT C
                         NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

COLON TAYLOR,                           §
                                        §
              Plaintiff,                §
                                        §
vs.                                     §   NO. 4:17-CV-774-A
                                        §
ALLSTATE VEHICLE AND PROPERTY           §
INSURANCE COMPANY,                      §
                                        §
              Defendant.                §


                                FINAL JUDGMENT

        In accordance with the order signed this date,

        The court ORDERS, ADJUDGES, and DECREES that the claims of

plaintiff, Colon Taylor, against defendant, Allstate Vehicle and

Property Insurance Company, be, and are hereby, dismissed without

prejudice.

        SIGNED December 8, 2017.
